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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §    CRIMINAL NO. 4:06CR195.2
                                                    §
 JOHN WESLEY JOHNSON                                §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order. Defendant having waived allocution before this court as well as his right

 to object to the report of the Magistrate Judge, the court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct.

         It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of thirty-three (33) months to run concurrent with any other sentence, with no

 supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

 be carried out in the Seagoville facility, if appropriate.

         IT IS SO ORDERED.

              .    SIGNED this the 5th day of December, 2014.




                                                               _______________________________
                                                               RICHARD A. SCHELL
                                                               UNITED STATES DISTRICT JUDGE
